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                                          PAUL GRANT
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June 22, 2019

BY ECF and by Hand Delivery
Hon. Lorna G. Schofield
United States District Judge
United States District Court
500 Pearl Street
New York NY 10007

Re:    United States v. Ross William Ulbricht, et al, 14 Cr. 68 (LGS)
       Request to File Documents Under Seal - (Attached Documents referenced in this Letter
       are Being Hand Delivered, not filed by ECF)

Dear Judge Schofield:

       I write on behalf of Defendant Ross Ulbricht to request that certain documents be filed
under seal.

        On June 12, 2019, before the Court was assigned to this case, Mr. Ulbricht filed a Motion
for Discovery in this matter, by ECF, which public filing consisted of four documents which are
identified as Documents #343, 344, 345, and 346, on the public docket.

        The 6-12-2019 - filed Motion contains discussions of the contents of a sealed search
warrant, thus the publicly filed documents were redacted so that they would not disclose the
contents of the sealed search warrant, and the sealed warrant was also not filed publicly. I am
with this letter submitting the unredacted documents, and also including a copy of the sealed
search warrant, which is referenced as Exhibit A in Doc. 346, the Memorandum of Law in
Support of Motion Requesting Discovery. The Court will need copies of these unredacted
materials and the sealed search warrant, and Mr. Ulbricht is now requesting an order allowing
him to filed the unredacted materials and the search warrant, under seal. Mr. Ulbricht has
previously provided the unredacted materials and search warrant to the government.

       The search warrant was sealed by order of a magistrate in the Northern District of
California, in Case No. 3:13-71209 NC, and apparently still remains sealed today.

        Although Mr. Ulbricht would prefer that all of the documents related to his motion be
filed unredacted on the public docket, it does not appear that this will be possible so long as the

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search warrant remains sealed. For these reasons, and to ensure that a complete record of Mr.
Ulbricht’s Motion is preserved on the official court record, Mr. Ulbricht requests an Order from
the Court authorizing him to file the attached documents under seal, where these documents
contain the complete filing of June 12, 2019), and these documents are identified as:

NOTICE OF DEFENDANT ROSS
ULBRICHT’S MOTION FOR
DISCOVERY IN PROCEEDING
PURSUANT TO 28 U.S.C. § 2255
[aka Doc. # 343]

DECLARATION OF PAUL
GRANT IN SUPPORT OF
MOTION FOR DISCOVERY IN
PROCEEDING PURSUANT TO
28 U.S.C. § 2255
[aka Doc. #344]

DECLARATION OF
ANDREW J SAYLER
[aka Doc. #345]

MEMORANDUM OF LAW IN SUPPORT OF MOTION
REQUESTING DISCOVERY PURSUANT TO 28 U.S.C. § 2255
[aka Doc. #346]

EXHIBIT A TO MEMORANDUM
[the Sealed Search Warrant]

Respectfully submitted,

/s/ Paul Grant
Paul Grant
Counsel for Ross William Ulbricht

cc: Eun Young Choi (by email: Eun.Young.Choi@usdoj.gov)
    Assistant United States Attorney




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